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20                                  UNITED STATES DISTRICT COURT

21                             NORTHERN DISTRICT OF CALIFORNIA

22                                     SAN FRANCISCO DIVISION

23   ORACLE AMERICA, INC.                              Case No. CV 10-03561 WHA
24                     Plaintiff,                      NOTICE OF CHANGE OF
                                                       COUNSEL
25          v.
                                                       Dept.: Courtroom 9, 19th Floor
26   GOOGLE INC.                                       Judge: Honorable William H. Alsup
27                     Defendant.
28
     NOTICE OF CHANGE OF COUNSEL
     CASE NO. CV 10-03561 WHA
     pa-1460021
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 1          PLEASE TAKE NOTICE that RICHARD S. BALLINGER of Morrison & Foerster LLP
 2   hereby withdraws as attorney of record for Plaintiff ORACLE AMERICA, INC. in this action.
 3   Counsel of record for Plaintiff otherwise remains the same.
 4
     Dated: April 25, 2011                        MICHAEL A. JACOBS
 5                                                MARC DAVID PETERS
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 6                                                MORRISON & FOERSTER LLP
 7
                                                  By: /s/ Richard S. Ballinger
 8

 9                                                       Attorneys for Plaintiff
                                                         ORACLE AMERICA, INC.
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     NOTICE OF CHANGE OF COUNSEL                                                                 1
     CASE NO. CV 10-03561 WHA
     pa-1460021
